                Case
AO 91 (Rev.11/11) Criminal2:23-cr-00036-TOR
                           Complaint           ECF No. 1          filed 03/09/23          PageID.1 Page 1 of 1

                                          United States District Court                                          FILED IN THE
                                                                                                            U.S. DISTRICT COURT
                                                          for the                                     EASTERN DISTRICT OF WASHINGTON

                                        Eastern District of Washington
                                                                                                          Mar 09, 2023
                                                              )                                             SEAN F. MCAVOY, CLERK
         UNITED STATES OF AMERICA
                                                              )
                                                              )
                           v.
                                                              )      Case No. 2:23-MJ-00092-JAG
                                                              )
       JESUS MANUEL ARMENTA-HIGUERA
                                                              )
       and BRIAN JESUS ZAZUETA,
                                                              )


                                           CRIMINAL COMPLAINT

I, Darya Aziz, the complainant in this case, state that the following is true to the best of my knowledge and belief.
Beginning on a date unknown but by on or about March 9, 2023, in the county of Spokane in the Eastern District of
Washington, the defendant(s) violated:

         Code Section                                               Offense Description
21 U.S.C. § 841(a)(1), (b)(1)(C),                Possession with Intent to Distribute Fentanyl

    This complaint is based on these facts:


   Continued on the attached sheet.




                                                         ────────────────────────────────
                                                                                  Complainant’s signature


                                                                             Darya Aziz, SA DEA
                                                         ────────────────────────────────
                                                                                  Printed name and title
☐ Sworn to before me and signed in my presence.
☒ Sworn to telephonically and signed electronically.


Date: _______March 9, 2023_________

                                                         ────────────────────────────────
                                                                                      Judge’s signature

                                                                    James A. Goeke, United States Magistrate Judge
City and state:      Spokane, Washington                 ────────────────────────────────
                                                                                 Printed name and title
